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                               IN THE DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF VIRGINIA

                                        NORFOLK DIVISION

                                CASE NO. 2:23-CV-351-AWA-LRL


JACOB GAVIN HILES,

       Plaintiff,

v.

CABLE NEWS NETWORK, INC.,

      Defendant.
______________________________/

                    PLAINTIFF’S NOTICE PURSUANT TO RULE 7(E)

       Plaintiff, Jacob Gavin Hiles (“Hiles” and/or “Plaintiff”), by and through his undersigned

counsel, hereby submits this notice to the Honorable Court for a ruling on the Plaintiff’s Request

for Clerk’s Entry of a Default (Dkt. 17):

        On or about February 14, 2024, Counsel for Plaintiff conferred with Counsel for

Defendant. While the Plaintiff is not requesting a hearing on Plaintiff’s Request for Clerk’s Entry

of Default, Counsel for Defendant informed Counsel for Plaintiff that the Defendant is requesting

a hearing on the Request for Clerk’s Entry of Default and Plaintiff does not object to the

Defendant’s request for a hearing. Notwithstanding, Plaintiff does not believe a hearing is

warranted because Plaintiff filed a Request for Clerk’s Entry of Default which should be

automatically entered pursuant to Local Rule 7E and the Rule 55 Federal Rules of Civil Procedure.

       Dated: February 20, 2024



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       Respectfully submitted,

       BUSH & TAYLOR, P.C.                               HODSON LAW FIRM | PLLC
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       By:             /s/                               By: :               /s/
              ALEXANDER H. BELL                                   DONALD J. HODSON
              Virginia Bar No. 84859                              Florida Bar No. 120256




                                  CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the

Court this 11th day of September 2023, and electronically served via the Court’s e-filing system

on the following individual(s): Jay Ward Brown, Esq., Ballard Spahr, LLP, 1909 K Street NW,

12th Floor, Washington, D.C., 20006, brownjay@ballardspahr.com, miskinm@ballardspahr.com,

and russelll@ballardspahr.com.

                                                         By:            /s/
                                                                  ALEXANDER H. BELL




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